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FILED

: JUL 74 2020
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIALERK US. DISTRICT COURT

WEST. DIST. OF PENNSYLVANIA
UNITED STATES OF AMERICA

Vv. , Criminal No. 76) -1S¢
KURT COFANO | a a
INDICTMENT MEMORANDUM
‘AND NOW comes the United States of America, by its attorneys, Scott W. Brady,
United States Attorney forthe Western District of Pennsylvania, and Cindy K. Chung and Jonathan
D. Lusty, Assistant United States Attorneys for said district, and submits this Indictment
Memorandum to the Court:
I. THE INDICTMENT
A Federal Grand Jury returned a five-count Indictment against the above-named
defendant for alleged violations of federal law:

COUNT . OFFENSE/DATE TITLE/SECTION

1 and 3 Possession of an Unregistered 26 U.S.C. § 5861(d)
Firearm/Destructive Device

July 9, 2020 (Count 1)
July 9-and 10, 2020 (Count 3)

2 and 5 Possession of a Firearm by an Unlawful User ofa 18 U.S.C. § 922(g)(3)
_ Controlled Substance

July 9, 2020 (Count 2)
July 9 and 10, 2020 (Count 5)

4 Manufacturing a Firearm/Destructive Device 26 U.S.C. § 5861(f)
From in and around May 2020 through in and :
around July 2020.
Il. ELEMENTS OF THE OFFENSES

A. As to Counts One and Three: In order for the crime of Possession of an
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Unregistered Firearm/Destructive Device, in violation of 26 U.S.C. § 5861(d), to be established,

the government must prove all of the following essential elements beyond a reasonable doubt:

1. 7 That the defendant knowingly possessed a firearm;
2. That the firearm was a destructive device or a rifle with a barrel less than
16 inches in length;
3. That the defendant knew of the characteristics of the firearm, that is, that it

was a destructive device or a rifle with a barrel less than 16 inches in length;
4. That this firearm was or could readily have been put in operating condition; ,
and,
5. That this firearm was not registered ‘to the. defendant in the National
- Firearms Registration and Transfer Record. It does not matter whether the defendant knew that |

the firearm was not registered or had to be registered.

Third Circuit Model Criminal fury Instruction 6.26.5861.
B. As to Counts Two and Five: In order for the crime of Possession of a Firearm by
an Unlawful User of a Controlled Substance, in violation of 18 U.S.C. § 922(g)(3), to be
established, the government must prove all of the following essential elements beyond a reasonable

doubt:

1. The defendant | knowingly possessed the firearm described in the —
Indictment: | |

2. At the time of the charged act, the defendant was an unlawful user of a
controlled substance; |

3. At the time of the charged act, the defendant knew that he was an unlawful

user of a controlled substance; and,
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| 4. The defendant’s possession was in or affecting interstate or foreign
commerce. |
Third Circuit Model Criminal Jury Instruction 6.18 922G (modified)
C: As to Count Four: In order for the crime of Manufacturing a Firearm/Destructive

Device, in violation of 26 U.S.C. § 5861(f), to be established, the government must prove all of
_ the following essential elements beyond a reasonable doubt: |

1. On or about the dates charged in the Indictment, the defendant knowingly |
made a firearm, in this case a destructive device, as defined in 26 U.S.C. § 5845(a).

2. Prior to the making of the destructive device, the defendant failed to obtain
an. approved application form from the Secretary of the Treasury or his delegate showing approval
to make and register the destructive device as required by 26 U.S.C. § 5822.

United States v. Williams, 775 F.2d 1295 (5th Cir. 1985). 26 U.S.C. §
5861(f). ]

 

Tl. PENALTIES

A, As to Counts One, Three, and F our: Possession of an Unregistered
 Firearm/Destructive Device (26 USC. § 5861(d)) and Manufacturing a Firearm/Destructive
Device (26 U.S.C. § 5861(f):

1. A term of imprisonment of not more than ten (10) years (26 U.S.C. § 5871).

2. A fine of not more than $250,000 (18 USC. § 3571(b)(3)).

3. A term of supervised release of not more than three (3) years (18 U.S.C. §
3583).

B. As to Counts Two and Five: Possession of a Firearm by an Unlawful User of a

Controlled Substance (18 U.S.C. § 922(¢)(3)): |

1. A term of imprisonment of not moré than ten (10) years. However, if it
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is determined that the defendant has three previous convictions for a violent felony or a serious
drug offense, or both, then pursuant to 18 U.S.C. § 924(e), the term of imprisonment is not less than
fifteen (1 5) years to a maximum of life imprisonment. |
2. A fine of not more than $250,000.00 (1g U.S.C. § 3571(b)(3)).
3, . A term of supervised release of three (3) years (or five (5) years if 18 U.S.C.
§ 924() applies) (18 U.S.C. § 3583). | |
IV. MANDATORY SPECIAL ASSESSMENT
A mandatory special assessment of $100.00 must be imposed at each count upon
which a defendant is convicted, pursuant to 18 U.S.C. § 3013.
V. RESTITUTION
_ Not applicable in this case.
VI. FORFEITURE °
As set forth in the Indictment, forfeiture may be applicable in this case.

Respectfully submitted,

SCOTT W. BRADY
United States Attorney

/s/ Cindy _K. Chung
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